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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                           §           Chapter 11
                                                 §
2518 CLEBURNE HOUSING LLC,                       §           Case No. 23-32106
                                                 §
DEBTOR.                                          §

                 SUBCHAPTER V TRUSTEE’S EMERGENCY MOTION
                      TO SCHEDULE STATUS CONFERENCE
*********************************************************************************************
BLR 9013 NOTICE: This motion seeks an order that may adversely affect you. If you oppose
the motion, you should immediately contact the moving party to resolve the dispute. If you
and the moving party cannot agree, you must file a response and send a copy to the moving
party. You must file and serve your response within 21 days of the date this was served on
you. Your response must state why the motion should not be granted. If you do not file a
timely response, the relief may be granted without further notice to you. If you oppose the
motion and have not reached an agreement, you must attend the hearing. Unless the parties
agree otherwise, the court may consider evidence at the hearing and may decide the motion
at the hearing.

An Emergency Hearing is requested no later than March 5, 2024.

Emergency relief has been requested. If the court considers the motion on an emergency
basis, then you will have less than 21 days to answer. If you object to the requested relief or
if you believe that the emergency consideration is not warranted, you should file an
immediate response.

Represented parties should act through their attorney.

******************************************************************************
TO THE HONORABLE EDUARDO V. RODRIGUEZ,
CHIEF UNITED STATES BANKRUPTCY JUDGE:

       Tom A. Howley, the Subchapter V Trustee (“Trustee”), respectfully moves this Court for

an order scheduling a status conference to determine the status and delay relating to the sale, the

filing of a final decree and the substantial consummation of the plan.

       In support of this motion, the Trustee represents as follows:




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                                   I. JURISDICTION AND VENUE

1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334. This matter

is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is appropriate pursuant to 28

U.S.C. § 1408.

2.      Tom A. Howley is the duly appointed Subchapter V Trustee for the Southern District of

Texas (the “Subchapter V Trustee”) appointed on June 7, 2023.

                                    II. FACTUAL BACKGROUND

3.      2518 Cleburne Housing LLC (the “Debtor”) filed its voluntary petition for relief under

chapter 11, subchapter V of the Bankruptcy Code on June 5, 2023. 1 The U.S. Trustee for the

Southern District of Texas (the “US Trustee”) appointed Tom Howley to serve as the Trustee in

this case. 2

4.      The U.S. Trustee commenced a first meeting of creditors on July 11, 2023, at which the

debtor’s representative appeared and testified. The meeting of creditors was concluded the same

day.

5.      On September 5, 2023, the Debtor timely filed its Subchapter V Plan. 3

6.      On November 14, 2023, the Court entered an order Granting Debtor’s Motion to Sell

Property. 4

7.      On December 5, 2023, the Court entered an order Confirming Subchapter V Plan of

Reorganization. 5 The consummation of the plan was entirely dependent upon a closing of the sale

of the Debtor’s real estate. At the confirmation hearing, Debtor’s counsel stated that the sale


1
  Doc. No. 1. All “Doc. No.” references herein are to the current bankruptcy proceeding, case number 23-32106,
unless otherwise stated.
2
  Doc. No. 4.
3
  Doc. No. 21.
4
  Doc. No. 58.
5
  Doc. No. 71.

                                                        2
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should occur by the of 2023 (but obviously no guarantee), subject to customary closing conditions.

Debtor’s counsel also stated on the record, when prompted by the Trustee, that Debtor’s counsel

would provide timely updates on the status of the closing of the sale.

8.         On December 5, 2023, the Court entered Order Post Confirmation 6 which among other

things required the Debtor’s to file a final decree and to provide notice of substantial

consummation no later than 14 days from the effective date of the confirmed plan.

9.         On February 21, 2024 a Notice of Default 7 was filed by Shellpoint Mortgage Servicing.

This was surprising since no material updates have been provided. Further, the Debtor has not

paid monthly retainer payments to the Trustee for over five months since the Debtor preferred to

pay in a lump sum once the sale closed.

                                      III. RELIEF SOUGHT

12.        The Trustee seeks an order scheduling a status conference in this case to determine the

status of the sale, the Debtor’s response to the notice of default and an update on the Debtor’s cash

position and ability to catch up on Trustee monthly retainer payments which are required by prior

court order under Docket No. 6.

                                     IV. BASIS FOR RELIEF

13.        Cause exists to schedule a status conference for the purpose of determining the delay of

the sale and the Debtor’s ability to effectuate the plan. The Trustee has conferred with the US

Trustee and the US Trustee agrees that a status conference is warranted.

14.        Emergency relief is requested because there is a current lack of clarity on the path and

direction forward in this case given the delay and the recent notice of default. Accordingly, the




6
    Doc. No. 72.
7
    Doc. No. 79.

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Trustee requests the Court’s emergency consideration and hearing on this motion.

       WHEREFORE, the Trustee respectfully requests that this Court enter an order scheduling

a status conference and all further relief as may be equitable and just.


Dated: February 26, 2024                               Respectfully Submitted,


                                                       HOWLEY LAW PLLC

                                                       By: /s/ Tom A. Howley
                                                          Tom A. Howley
                                                           Subchapter V Trustee


                                 CERTIFICATE OF SERVICE

        I hereby certify that I caused a true and correct copy of the foregoing to be served upon
the parties listed below by United States Mail, first class, postage prepaid or by ECF
transmission on February 26, 2024.

                                                       /s/ Tom A. Howley
                                                       Tom A. Howley

DEBTOR:                                (By mail)
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Houston, TX 77080

DEBTOR’S COUNSEL:                      (By email and ECF)
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U.S. TRUSTEE:                          (By email and ECF)
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